      CASE 0:20-cv-01302-WMW-DTS Doc. 508 Filed 03/30/23 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

Jared Goyette, Craig Lassig, Katie
Nelson, Tannen Maury, Stephen                Case No. 20-cv-01302 (WMW/DTS)
Maturen, Chris Tuite, Edward Ou, and
Timothy Evans, and The
Communications Workers of America,
On behalf of themselves and other
similarly situated individuals
                               Plaintiffs,           [PROPOSED]
                                                 ORDER OF DISMISSAL
v.                                           WITH PREJUDICE OF PLAINTIFFS’
                                              CLAIMS AGAINST DEFENDANT
City of Minneapolis; Minneapolis Chief                  KROLL
of Police Medaria Arradondo, in his
individual and official capacity;
Minneapolis Police Lieutenant Robert
Kroll, in his individual and official
capacity; Hennepin County Sheriff
David Hutchinson, in his individual
and official capacity; John Does 1-10, in
their individual and official capacities,


                             Defendants.



      Based upon the Stipulation of Dismissal with Prejudice of Plaintiffs’ Claims

Against Defendant Kroll filed on March 30, 2023 (Doc. No. ___), IT IS HEREBY

ORDERED that Plaintiffs’ claims against Defendant Robert Kroll in this matter are

DISMISSED WITH PREJUDICE, with Plaintiffs and Kroll to bear their own costs,

expenses and attorneys’ fees.
     CASE 0:20-cv-01302-WMW-DTS Doc. 508 Filed 03/30/23 Page 2 of 2




Dated:
                                    The Honorable Wilhemina M. Wright
                                    United States District Judge
                                    District of Minnesota




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